
USCA1 Opinion

	










                            UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT

                              _________________________


          No. 96-1744


               NEW HAMPSHIRE RIGHT TO LIFE POLITICAL ACTION COMMITTEE,

                                Plaintiff, Appellant,

                                          v.

           WILLIAM M. GARDNER, IN HIS OFFICIAL CAPACITY AS THE SECRETARY OF
                     STATE OF THE STATE OF NEW HAMPSHIRE, ET AL.,

                                Defendants, Appellees.

                              _________________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW HAMPSHIRE

                 [Hon. Joseph A. DiClerico, Jr., U.S. District Judge]
                                                 ___________________

                              _________________________

                                        Before

                                Selya, Circuit Judge,
                                       _____________

                      Aldrich and Bownes, Senior Circuit Judges.
                                          _____________________

                              _________________________

               James Bopp, Jr. with  whom Paul R. Scholle, Bopp,  Coleson &amp;
               _______________            _______________  ________________
          Bostrom, and Stephen F. Queeney were on brief, for appellant.
          _______      __________________
               Lucy C. Hodder, Assistant Attorney General, with whom Martin
               ______________                                        ______
          P. Honigberg,  Senior Assistant  Attorney General, was  on brief,
          ____________
          for appellees.

                              _________________________


                                   November 1, 1996
                              _________________________



















                    SELYA,  Circuit Judge.    Like  forecasted  hurricanes,
                    SELYA,  Circuit Judge.
                            _____________

          approaching elections invariably  give rise not only  to gusts of

          wind but also to feverish preparations.  And, just as the prudent

          fisherman  does not  trust in  chance to save  his boat  from the

          gathering  storm, the sage political activist does not rely on an

          unenlightened   electorate  to   save  her  candidate   from  the

          vicissitudes of the ballot  box.  Still, government from  time to

          time  attempts to  circumscribe the  ways  and means  of bringing

          enlightenment to a sometimes truculent public.  This appeal comes

          to us by virtue of one such restriction:  the $1,000 per election

          limit that New Hampshire  places on "independent expenditures" in

          a  political campaign.1   See  N.H. Rev.  Stat. Ann.  (RSA), tit.
                                    ___

          LXIII, ch. 664:5, V; 664:3, I; 664:3, II (Supp. 1995).

                    In this case the appellant New Hampshire  Right to Life

          Political    Action    Committee    (N-PAC)     challenges    the

          constitutionality of  the New Hampshire limitation,  arguing that

          the statutory  scheme  violates the  First  Amendment.2   In  the

          course  of  denying  a  requested  preliminary   injunction,  the
                              
          ____________________

               1New Hampshire considers independent expenditures to include
          expenditures  by  a  political   committee  for  the  purpose  of
          "expressly  advocating  the  election  or  defeat  of  a  clearly
          identified  candidate  which  are  made  without  cooperation  or
          consultation with  any candidate, or any  authorized committee or
          agent of [any] candidate, and which are not made in concert with,
          or  at  the  request or  suggestion  of,  any  candidate, or  any
          authorized  committee or agent  of [any]  candidate."   N.H. Rev.
          Stat. Ann.,  tit. LXIII, ch. 664:2,  XI.  That  definition is not
          atypical.   See, e.g., Ariz. Rev.  Stat. Ann., tit. 16,  ch. 6,  
                      ___  ____
          16-901(11); Or. Rev. Stat., tit. 23, ch. 260.005(8).

               2The  First Amendment applies to states  by operation of the
          Fourteenth Amendment.   See 44 Liquormart, Inc. v.  Rhode Island,
                                  ___ ___________________     ____________
          116 S. Ct. 1495, 1501 n.1 (1996).

                                          2














          district court dismissed  the case  sua sponte.   The court  held

          that  the  appellant  lacked  standing to  maintain  the  action.

          Because N-PAC  faces  a  credible  threat of  prosecution  if  it

          pursues  its wonted  activities, we  conclude that  it  does have

          standing  to  mount a  pre-enforcement  facial  challenge to  the

          statutory  cap.   Consequently, we  reverse the  district court's

          order  of  dismissal, and,  because the  merits  of the  case are

          clear,  we strike  down  New Hampshire's  ceiling on  independent

          expenditures.

          I.  THE STATUTORY SCHEME
          I.  THE STATUTORY SCHEME

                    Understandably perturbed  by  the corrosive  effect  of

          money  on the  electoral  process, New  Hampshire began  to enact

          campaign finance reform legislation as far back as 1989.  In 1991

          the state  legislature capped a political  committee's ability to

          make  "independent expenditures"  at $1,000  per election.3   The

          relevant statute reads:

                         No   political   committee  shall   make
                    independent expenditures in excess  of $1,000
                    for any or against any candidate  running for
                    a  particular  office  in  a   state  primary
                    election,  and  a  like  amount  in  a  state
                    general election, in support  of or to oppose
                    any candidate.

          RSA  664:5,  V.    Two  other  statutes  complement  the  general

          restriction  on  independent  expenditures.    First,  the  state

          requires  a political committee  to file  a declaration  with the

          Secretary  of  State  pledging  that  it  "will  not  exceed  the
                              
          ____________________

               3In  the vocabulary  of the  statute, a  political committee
          includes "any organization  of 2 or more persons  [that attempts]
          to influence elections . . . ."  RSA 664:2, III.

                                          3














          expenditure limitations allowed under RSA 664:5, V."  RSA  664:3,

          I.    Another  statute  provides  that  "[o]nly  those  political

          committees  that  have  filed   a  declaration  with  respect  to

          independent  expenditures . . . may make such expenditures."  RSA

          664:3,  II.   The  violation  of any  of  these  provisions is  a

          criminal offense.  See RSA 664:21, V.
                             ___

                    New  Hampshire  vests  enforcement  of  this  statutory

          scheme in its  Attorney General.  See RSA 664:18.   The Secretary
                                            ___

          of  State is  charged  with receiving  and  examining reports  of

          election expenditures  and notifying the Attorney  General of any

          suspected improprieties.  See RSA 664:19.
                                    ___

          II.  THE GATHERING STORM
          II.  THE GATHERING STORM

                    N-PAC is a political committee within the contemplation

          of RSA  664:2,  III and  has  been registered  as such  with  the

          Secretary  of State for over a decade.  The organization's stated

          purpose is to "promote the sanctity of human life from conception

          to  natural  death."    N-PAC  works  in  a  variety of  ways  to

          accomplish this  goal.  Among  other stratagems, it  supports (or

          opposes) various candidates for state office whom it perceives as

          endorsing (or denigrating) its  views.  N-PAC's support manifests

          itself  through the  expenditure  of funds  for such  purposes as

          purchasing advertisements and distributing leaflets.

                    Over the past decade N-PAC typically has  spent all the

          contributions  that it  receives  on some  form of  right-to-life

          political advocacy.  The 1996 election followed this well-trodden

          path.   Originally,  N-PAC vowed  to make  political expenditures


                                          4














          opposing a certain  candidate in the  primary election, but  that

          candidate  withdrew.   N-PAC then  shifted gears  and decided  to

          throw its  support behind a  different candidate who  was running

          for state office in the primary election.4

                    Ellen  Dube,   a  state  employee,   functions  as  the

          Secretary of State's liaison  with the Attorney General.   One of

          Dube's duties  is to report possible violations of RSA 664 to the

          Attorney  General,  who  then   makes  the  decision  whether  to

          investigate  and/or  prosecute.     On  March  6,  1996,  N-PAC's

          president, Barbara Hagan, telephoned Dube.  Hagan inquired if the

          state intended to enforce the statutory limitation on independent

          expenditures.   Dube replied that infractions  "would be noticed"

          and that the state would commence enforcement actions against any

          persons  who violated RSA 664:5, V.  Hagan subsequently posed the

          same  question to Wynn Arnold, a member of the Attorney General's

          staff.   Arnold advised her that the initiation of an enforcement

          action would depend on whether there had been a referral from the

          Secretary of State.  He refused to deny that the Attorney General

          would enforce RSA 664:5, V.

                    N-PAC  then  filed  suit  in  New  Hampshire's  federal

          district  court  against  the  Secretary  of  State,  William  M.

          Gardner, and the  Attorney General, Jeffrey  R. Howard.   N-PAC's

          verified  complaint  alleged  that  it  intended  to  exceed  the

          limitation  on  independent  expenditures  in the  1996  election
                              
          ____________________

               4The   identity  of   the  candidate,   his  or   her  party
          affiliation, and the  particular office sought are being  held in
          confidence pursuant to an agreement between the parties.

                                          5














          campaign, that it  feared prosecution if it did  so, and that the

          challenged statutory provisions impermissibly burdened  its free-

          speech rights  and  thereby  ran  afoul of  the  Supreme  Court's

          holding in Buckley v. Valeo, 424 U.S. 1 (1976) (per  curiam).  N-
                     _______    _____

          PAC sought a declaratory judgment that  RSA 664:5, V and 664:3, I

          &amp; II on  their face  chill its political  expression and  thereby

          abridge  its  constitutional rights.    It also  sought  an order

          restraining the defendants from  enforcing these statutes against

          it.

                    Within a  week, N-PAC filed a motion  for a preliminary

          injunction.    In describing  the  need  for this  relief,  N-PAC

          focused on three sets  of expenditures which it intended  to make

          for  the September  10 primary  election:   (1)  its contemplated

          purchase of an advertisement endorsing the candidate  in the June

          edition of  the New  Hampshire Right  to  Life Committee  (NHRLC)

          newsletter (estimated cost:   $900); (2) its planned distribution

          at public  events around the  state on July  4 of  roughly 30,000

          fliers supporting  the candidate (estimated cost:   slightly over

          $3,000);   and  (3)   its  proposed   purchase  of   a  follow-up

          advertisement  in either  the August  or September  issue of  the

          NHRLC newsletter (estimated cost not disclosed in the record).

                    After deposing  Hagan and  learning of  these projected

          expenditures, the defendants informed  N-PAC that the state would

          not  take any enforcement action  because of its  belief that the

          pattern of contacts between  N-PAC and the candidate whom  it had

          opted  to  support  precluded  classification  of  the   proposed


                                          6














          expenditures as  "independent" within  the purview of  RSA 664:2,

          XI.    As  what seemed  to  them  a  logical  corollary  of  this

          determination,  the defendants asserted that in  the absence of a

          threat of enforcement, N-PAC could not claim to have suffered any

          cognizable  injury by  operation of  the challenged  statutes and

          therefore had no standing to contest their constitutionality.

                    On June 21, 1996, the district  court denied the motion

          for a  preliminary injunction.   In that  same order the  court  

          relying heavily on the Attorney General's representation that the

          specified expenditures, if made, would not engender prosecution  

          sua sponte dismissed  the action for want  of standing.5  In  the

          court's   view  its   conclusion   that  N-PAC   lacked  standing

          "present[ed]   a   constitutional  barrier   not   only  to   the

          adjudication  of  the  instant  motion but  also  to  the court's

          consideration of the merits of the  case."  As part and parcel of

          this determination, the court concluded that N-PAC did not face a

          credible threat of  prosecution based on the aggregate  effect of

          the  $900 expenditure  it  had already  made  and the  other  two

          planned expenditures.  Importantly, the court neither dwelt on N-

          PAC's prayer  for declaratory  relief nor  assayed the  threat of

          prosecution vis- -vis other potential expenditures.

                    N-PAC filed this appeal, but it refrained from printing
                              
          ____________________

               5The court considered  and rejected N-PAC's  contention that
          the  Attorney   General  lacked  the  authority   to  make  these
          representations, finding "the representations  to be binding  and
          the plaintiff to be protected by them."  Given the  basis for our
          decision, see  text infra, we do not  review this finding, and we
                    ___       _____
          express  no opinion on  the correctness of  the legal proposition
          upon which it rests.

                                          7














          the fliers or purchasing a second advertisement.

          III.  STANDARD OF REVIEW
          III.  STANDARD OF REVIEW

                    We  review standing  determinations de  novo, crediting

          the  plaintiff's factual allegations to  the extent that they are

          material and  construing those  alleged facts, together  with the

          reasonable inferences  therefrom, in favor of the plaintiff.  See
                                                                        ___

          Warth  v. Seldin, 422 U.S. 490, 501 (1975); Benjamin v. Aroostook
          _____     ______                            ________    _________

          Medical  Ctr., Inc.,  57 F.3d  101, 104  (1st Cir.  1995); United
          ___________________                                        ______

          States v. AVX  Corp., 962 F.2d 108, 114 (1st  Cir. 1992).  Where,
          ______    __________

          as here,  dismissal is ordered sua sponte,  the ultimate standard

          of review  does not vary, but  the court of appeals  must take an

          extra  step,  scrutinizing  the  proceedings  carefully  to  make

          certain that the plaintiff  has had a fair opportunity to put its

          best foot forward.  See,  e.g., Carparts Distribution Ctr.,  Inc.
                              ___   ____  _________________________________

          v. Automotive Wholesaler's Ass'n  of New Eng., Inc., 37  F.3d 12,
             ________________________________________________

          15 (1st Cir.  1994); Preterm, Inc. v. Dukakis, 591  F.2d 121, 134
                               _____________    _______

          (1st Cir.), cert. denied, 441 U.S. 952 (1979).
                      _____ ______

          IV.  STANDING
          IV.  STANDING

                    Standing  is a  "threshold  question in  every  federal

          case,  determining the power of the court to entertain the suit."

          Warth, 422 U.S. at 498.   After all, "[i]f a party lacks standing
          _____

          to  bring a matter before the court, the court lacks jurisdiction

          to decide the merits of  the underlying case."  AVX, 962  F.2d at
                                                          ___

          113.

                    Curiously,  the  doctrine of  standing,  though vitally

          important for  federal courts,  remains a morass  of imprecision.


                                          8














          The Justices once termed  it "a concept of uncertain  meaning and

          scope," Flast v. Cohen,  392 U.S. 83, 95  (1968), and a  quarter-
                  _____    _____

          century later we acknowledged that, even after so many years, the

          "ingredients  of standing  are .  . .  not easily  susceptible to

          concrete definitions or mechanical application." AVX, 962 F.2d at
                                                           ___

          113.   In the absence  of any hard-and-fast  test, we  limn those

          guidelines on which federal courts seemingly  agree and then move

          to a more particularized discussion of the cases that provide the

          best analogies for the present  situation.  After dealing briefly

          with prudential concerns, we  apply these distilled principles to

          the  standing  issue  in this  case.    Finally,  we address  the

          possibility that the case is moot.

                                          A
                                          A

                    Standing   involves   "a   blend    of   constitutional

          requirements  and  prudential   considerations."    Valley  Forge
                                                              _____________

          Christian Coll. v. Americans United for  Separation of Church and
          _______________    ______________________________________________

          State, 454 U.S.  464, 471 (1982).  The  constitutional requisites
          _____

          stem from the admonition  that a federal court is  empowered only

          to  decide "cases"  and "controversies."   See U.S.  Const., Art.
                                                     ___

          III.   Not every dispute is a case or controversy.  "The presence

          of  a disagreement, however sharp  and acrimonious it  may be, is

          insufficient by itself to meet Art. III's requirements."  Diamond
                                                                    _______

          v.  Charles, 476 U.S.  54, 62 (1986).   To clear  the Article III
              _______

          hurdle, the  party who invokes  a federal court's  authority must

          show  that (1) he  or she personally has  suffered some actual or

          threatened  injury as a result of the challenged conduct; (2) the


                                          9














          injury can fairly  be traced to that conduct;  and (3) the injury

          likely  will be redressed by a favorable decision from the court.

          See  Valley  Forge,  454  U.S.  at  472;  Vote  Choice,  Inc.  v.
          ___  _____________                        ___________________

          DiStefano,  4 F.3d 26, 36 (1st Cir. 1993).  The complaining party
          _________

          must satisfy this test throughout the litigation, not just at the

          moment when the complaint is filed.  See Steffel v. Thompson, 415
                                               ___ _______    ________

          U.S. 452, 459 n.10 (1974).

                    The second  and  third  prongs  of  the  test  are  not

          legitimately  in  issue  here.   To  the  extent  that N-PAC  has

          suffered a cognizable injury at all   a matter to  which we shall

          soon  return    the  injury can  be traced  to the  existence and

          threatened enforcement  of the challenged statutes.   That injury

          is also redressable  in this  action:  when  a plaintiff seeks  a

          declaration that  a particular  statute is unconstitutional,  the

          proper  defendants  are  the government  officials  charged  with

          administering and enforcing it.  See Diamond, 476 U.S. at 57 n.2;
                                           ___ _______

          Kentucky v. Graham,  473 U.S. 159, 165-66 (1985).   Consequently,
          ________    ______

          the  dispositive inquiry  here involves  the test's  first prong:

          the existence vel non of an actual or threatened injury.
                        ___ ___

                    This inquiry is  always case-specific, and  that truism

          applies with  special force  in this instance.   When, as  now, a

          party  launches a  pre-enforcement  challenge to  a statute  that

          provides for criminal penalties and  claims that the statute,  on

          its face, abridges First Amendment rights, two potential injuries

          must be considered.  First, there is the injury which attends the

          threat of enforcement.  As the Court has repeatedly explained, it


                                          10














          is  not necessary  that  a person  expose  herself to  arrest  or

          prosecution under a statute in order to challenge that statute in

          a federal court.  See Babbitt v. United Farm Workers Nat'l Union,
                            ___ _______    _______________________________

          442 U.S. 289, 298  (1979); Steffel, 415 U.S. at  459; Epperson v.
                                     _______                    ________

          Arkansas,  393 U.S. 97 (1968).  The rationale that underlies this
          ________

          rule  is straightforward:  a credible threat of present or future

          prosecution itself works an  injury that is sufficient  to confer

          standing, even if  there is no history of past  enforcement.  See
                                                                        ___

          Doe v. Bolton, 410 U.S. 179, 188 (1973).
          ___    ______

                    The second  type of  injury  is peculiar  to the  First

          Amendment context.   In such  cases, an actual  injury can  exist

          when the plaintiff is  chilled from exercising her right  to free

          expression or  forgoes expression  in order to  avoid enforcement

          consequences.   See  Meese v.  Keene, 481  U.S. 465,  473 (1987);
                          ___  _____     _____

          Wilson v. Stocker,  819 F.2d 943, 946 (10th Cir.  1987).  In such
          ______    _______

          situations  the  vice of  the statute  is  its pull  toward self-

          censorship.   See Virginia  v. American Booksellers  Ass'n, Inc.,
                        ___ ________     _________________________________

          484 U.S. 383, 393 (1988).

                    Of course, these two  types of injury are interrelated.

          Both  hinge  on  the existence  of  a  credible  threat that  the

          challenged law will be enforced.   If such a threat exists,  then

          it poses a  classic dilemma  for an  affected party:   either  to

          engage in the expressive  activity, thus courting prosecution, or

          to  succumb to the threat, thus forgoing free expression.  Either

          injury  is  justiciable.   Conversely, if  no credible  threat of

          prosecution  looms,  the chill  is  insufficient  to sustain  the


                                          11














          burden  that Article III imposes.  A party's subjective fear that

          she may  be prosecuted for  engaging in expressive  activity will

          not  be held to constitute an injury for standing purposes unless

          that fear is  objectively reasonable.   See Laird  v. Tatum,  408
                                                  ___ _____     _____

          U.S. 1,  13-14 (1972); Chamber of  Commerce v. FEC, 69  F.3d 600,
                                 ____________________    ___

          603-04  (D.C. Cir. 1995); see also  ACLU v. Florida Bar, 999 F.2d
                                    ___ ____  ____    ___________

          1486,  1492 (11th Cir. 1993) (noting that when the claimed injury

          is one  of self-censorship, the likelihood  of enforcement action

          becomes an important factor in  determining whether there is more

          than merely  a subjective  chill).  The  bottom line is  that, as

          long as a credible  threat of prosecution exists, a  litigant has

          standing  to  mount a  pre-enforcement  challenge  to the  facial

          constitutionality of  a  statute  on the  basis  that  her  First

          Amendment rights arguably are being trammelled.

                    Because  the   threat  of   prosecution  is   a  common

          denominator  of  both types  of  injury, their  existence  can be

          resolved  in a single inquiry.   The contours of that inquiry are

          well-defined.    In  a  pre-enforcement challenge  to  a  statute

          carrying criminal penalties, standing exists when "the  plaintiff

          has  alleged  an  intention to  engage  in  a  course of  conduct

          arguably affected  with a constitutional interest, but proscribed

          by  [the]  statute,   and  there  exists  a  credible  threat  of

          prosecution."  Babbitt, 442 U.S. at 298.  The first two-thirds of
                         _______

          the Babbitt framework fit  this case snugly.  The  record reveals
              _______

          that  N-PAC intends to engage in political expenditures of a type

          protected under the First Amendment, see Buckley, 424 U.S. at 14,
                                               ___ _______


                                          12














          and New Hampshire's statutory scheme restricts N-PAC's freedom to

          make  those expenditures.  Thus,  the bone of  contention here is

          whether  the third prong  of the Babbitt framework  fits.  In the
                                           _______

          next section, we gnaw upon that bone.



                                          B
                                          B

                    While bright lines grow faint in  the area of standing,

          we believe that a discussion of pertinent caselaw illuminates the

          path to appropriate  resolution of  this appeal.   We begin  with

          bedrock:   "The  conflict  between state  officials empowered  to

          enforce a  law and private  parties subject to  prosecution under

          that  law is a classic `case' or `controversy' within the meaning

          of  Art.  III."   Diamond,  476 U.S.  at  64.   To  establish the
                            _______

          conflict needed to animate this principle, however,  a party must

          show that her  fear of  prosecution is "not  imaginary or  wholly

          speculative." Babbitt, 442 U.S. at 302.
                        _______

                    This standard    encapsulated in  the phrase  "credible

          threat of prosecution"   is quite forgiving.  Babbitt illustrates
                                                        _______

          how readily  one can meet it.   There, the plaintiffs  attacked a

          statute  that  criminalized  certain  deceptive  statements  made

          during consumer  publicity campaigns and sought  a declaration of

          the statute's  unconstitutionality.   Id. at  301.  Although  the
                                                ___

          defendants noted that no criminal penalties had  ever been levied

          under the statute and argued that none might ever be imposed, the

          Court found a credible  threat of prosecution.  It  observed that

          the plaintiffs had engaged in consumer publicity campaigns in the


                                          13














          past  and that  they  professed  an  intent  to  engage  in  such

          activities in  the  future.    Id.   Since  "the  State  has  not
                                         ___

          disavowed  any  intention   of  invoking  the  criminal   penalty

          provision against [violators]," the plaintiffs were  "not without

          some  reason in fearing prosecution  for violation of  the ban on

          specified forms of consumer publicity."  Id. at 302.
                                                   ___

                    Other cases set a similarly low threshold.  In Doe, the
                                                                   ___

          Justices  held that a  class consisting of  doctors who performed

          abortions  had standing  to  challenge  the constitutionality  of

          Georgia's  statutes  restricting  the procedure,  notwithstanding

          that  no physician  "ha[d]  been prosecuted,  or threatened  with

          prosecution, for violation  of the . . . statutes."   410 U.S. at

          188.  The  Doe Court  distinguished Poe v.  Ullman, 367 U.S.  497
                     ___                      ___     ______

          (1961), in which standing had been denied, on the ground that Poe
                                                                        ___

          involved  a hoary statute that had led to only one prosecution in

          more  than  eighty years.   "Georgia's  statute, in  contrast, is

          recent and not moribund."  Doe, 410 U.S. at 188.
                                     ___

                    American  Booksellers  is of  like  tenor.   That  case
                    _____________________

          involved  a  pre-enforcement  facial  challenge  to  a   Virginia

          obscenity  statute.  The Court rejected the state's plea that the

          plaintiffs  had sued  prematurely (the  statute having  been only

          recently  enacted and not yet having taken effect).  The Justices

          reasoned that the law  was "aimed directly" at entities  like the

          plaintiffs, who would either have to "take significant and costly

          compliance measures  or  risk criminal  prosecution."    American
                                                                   ________

          Booksellers,  484  U.S. at  392.   Since  "[t]he State  ha[d] not
          ___________


                                          14














          suggested that the newly  enacted law will not be  enforced," the

          booksellers had  "an actual  and well-founded  fear that  the law

          [would] be  enforced against them."   Id. at 393.   They thus had
                                                ___

          standing  to mount a pre-enforcement facial challenge to it.  See
                                                                        ___

          id.   In reaching this conclusion,  the Court took pains  to note
          ___

          that the  "danger of this  statute is, in  large measure,  one of

          self-censorship" and  termed self-censorship "a harm  that can be

          realized even without an actual prosecution."  Id.
                                                         ___

                    Federal  appellate  courts  echo these  holdings.    In

          Chamber  of Commerce the D.C.  Circuit found standing  to mount a
          ____________________

          facial challenge  to  a Federal  Election  Commission  regulation

          despite the fact that  the FEC was  split on the advisability  of

          the rule and  there was  no present danger  of enforcement.   The

          court explained that a credible threat of prosecution nonetheless

          existed because  nothing "prevents the Commission  from enforcing

          its rule at any time with, perhaps, another change of mind of one

          of the  Commissioners."  69  F.3d at 603.   Similarly, in Wilson,
                                                                    ______

          which bears  a family resemblance to  the case at  bar, the Tenth

          Circuit held that  when a  state statute chills  the exercise  of

          First Amendment rights, standing  exists even though the official

          charged  with enforcement  responsibilities  has  not  taken  any

          enforcement action  against the plaintiff and  does not presently

          intend to take any such action.  819 F.2d at 946-47.

                    The preceding  cases make clear that  when dealing with

          pre-enforcement challenges  to  recently enacted  (or, at  least,

          non-moribund) statutes that facially restrict expressive activity


                                          15














          by the class to which the plaintiff belongs, courts will assume a

          credible  threat  of prosecution  in  the  absence of  compelling

          contrary evidence.

                                          C
                                          C

                    Of   course,   in   addition   to   its  constitutional

          dimensions,  "the doctrine  of standing also  embraces prudential

          concerns regarding  the proper exercise of federal jurisdiction."

          AVX,  962 F.2d at  114.  To  satisfy these concerns,  a suit must
          ___

          meet  certain additional  criteria.   We mention  three of  them.

          First, the  complaint must  "fall  within the  zone of  interests

          protected by the  law invoked."  Allen  v. Wright, 468 U.S.  737,
                                           _____     ______

          751  (1984).    Next, under  the  principle  of  jus tertii,  the
                                                           ___ ______

          plaintiff  ordinarily  "must  assert  his own  legal  rights  and

          interests,  and  cannot rest  his claim  to  relief on  the legal

          rights or interests of  third parties."  Warth, 422  U.S. at 499.
                                                   _____

          Third, the suit  must present  more than  "abstract questions  of

          wide public significance which amount  to generalized grievances,

          pervasively  shared  and  most  appropriately  addressed  in  the

          representative  branches."    Valley   Forge,  454  U.S.  at  475
                                        ______________

          (citations and internal quotation marks omitted).

                    In  the  circumstances  of  this  case,  N-PAC  readily

          satisfies the  prudential prerequisites for a  grant of standing.

          First, its  complaint implicates  basic political  expression and

          advocacy; it  thus falls comfortably within the zone of interests

          protected by the First Amendment.  Second, N-PAC is asserting its

          own legal rights, as the  statute takes direct aim at a  class of


                                          16














          entities (political  committees) to which it belongs.   Third, N-

          PAC's  disagreement  with  New  Hampshire's  cap  on  independent

          political   expenditures   is   a   sufficiently   particularized

          grievance.

                                          D
                                          D

                    In  this case, therefore, standing depends upon whether

          N-PAC faces a  credible threat  of prosecution.   To answer  this

          question, we must first place the matter into better perspective.

                    In  its complaint  N-PAC  sought  both declaratory  and

          injunctive  relief.   Because  it  projected that  it  would make

          certain expenditures in  June, it focused its  initial efforts on

          securing a  preliminary injunction that  would permit it  to make

          those  outlays in  the proper  time frame.   The  defendants also

          concentrated  on these  expenditures, eventually  representing to

          the  district court  that the  Attorney General did  not consider

          them to be "independent"  under RSA 664:2, XI, and  therefore the

          expenditures,  even if made, would not  trigger RSA 664:5, V.  In

          its ruling on  the motion for preliminary  injunctive relief, the

          lower court correctly focused on this point.

                    But then the court went beyond the scope of the pending

          motion, deemed  the treatment of  the initial expenditures  to be

          dispositive  of the entire case,  and dismissed the complaint out

          of  hand.   In  doing  so, the  court erred.    The purpose  of a

          preliminary  injunction  is  simply  to  "preserve  the  relative

          positions of  the  parties until  a trial  on the  merits can  be

          held."    University of  Texas v.  Camenisch,  451 U.S.  390, 395
                    ____________________     _________


                                          17














          (1981).  Because a  preliminary injunction is customarily granted

          or  denied on  the basis  of procedures  and considerations  that

          differ  markedly  from those  that apply  at  trial, it  is risky

          business  for a  district court  to enter  final judgment  at the

          preliminary injunction stage.   See id.  This case  bears witness
                                          ___ ___

          to that admonition.

                    In grafting a sua sponte dismissal onto the denial of a

          motion  for   a  preliminary   injunction,  the   district  court

          effectively denied N-PAC any  opportunity to develop its evidence

          and  arguments for  declaratory  relief.   More importantly,  the

          court confused  the threat of enforcement  which existed relative
                                                                   ________

          to  the   initial  expenditures   with  the  broader   threat  of
          _______________________________

          enforcement that  had  to  be considered  in  ruling  on  N-PAC's

          standing to  seek  a declaration  that  the statutory  scheme  is

          unconstitutional on its face.   In this case, the  distinction is

          crucial.

                    The  district court may or may not have been correct in

          determining  that  the  representations  made  by the  defendants

          removed any  danger of prosecution for  the specific expenditures

          that N-PAC sought to make in the summer of 1996.  See  supra note
                                                            ___  _____

          5.  But N-PAC's standing for purposes of the suit   as opposed to

          the  preliminary injunction    cannot  be determined  solely with

          reference  to  those  expenditures.    Given  the fact  that  the

          district  court   dismissed  the  action  sua   sponte,  we  must

          scrutinize the entire record to see what it reveals about N-PAC's

          standing  to secure  declaratory relief.   The  record adequately


                                          18














          evinces  that N-PAC is an  organization whose very  purpose is to

          make political  expenditures.   It has  done so  for more than  a

          decade, and  it intends to  do so in  the future.   Indeed, N-PAC

          typically spends  all  the  money that  it  raises  on  political

          advocacy,  and  its  outlays,  past  and  prospective,  at  least

          arguably fall  within the  statutory  definition of  "independent

          expenditures."  

                    It is,  therefore, highly  probable that N-PAC  will at

          some  point find  itself either  in violation  of a  statute that

          takes direct aim at its customary  conduct or be forced to  self-

          censor   (i.e.,  withhold  expenditures   earmarked  for  funding

          expressive  activity) for  fear  of the  consequences.   In  such

          circumstances,  a pre-enforcement facial challenge to a statute's

          constitutionality is  entirely appropriate  unless the state  can

          convincingly demonstrate  that the statute is moribund or that it

          simply will not be enforced.

                    New Hampshire has  failed to make such a  showing here.

          As the record reflects,  an official in the Secretary  of State's

          office told N-PAC's president that RSA 664:5, V would be enforced

          and that violations would not escape notice.  A representative of

          the  Attorney  General refused  to  disclaim  the possibility  of

          enforcement.    As  late as  oral  argument  in  this court,  the

          defendants  vouchsafed  the  constitutionality  of  the  statute.

          Indeed,  the defendants  have  not only  refused  to disavow  RSA

          664:5, V, but their defense  of it indicates that they will  some

          day enforce it.


                                          19














                    To sum up, there is more than enough in this record  to

          show  that  the  threat  of  future  prosecution  is  not  wholly

          conjectural,  but, rather,  that it  is sufficiently  credible to

          confer standing  to  launch  a facial  challenge  to  a  recently

          enacted statute.  Hence,  we conclude that N-PAC has  standing to

          challenge  the  constitutionality  of New  Hampshire's  statutory

          scheme.

                    This conclusion  is bolstered  by a  factual comparison

          between this case and cases in which the Supreme Court  has found

          standing.  As  in Babbitt, 442 U.S. at 301-02, the plaintiff here
                            _______

          has in  the past and intends  in the future to  engage in conduct

          likely proscribed by  a challenged statute.  As  in Doe, 410 U.S.
                                                              ___

          at 188, the  statute in question  is not a  dead letter, and  the

          defendants have not disclaimed any intention ever  to enforce it.

          As in American Booksellers,  484 U.S. at 393, the  plaintiff must
                ____________________

          either risk  criminal prosecution under a  statute aimed directly

          at it  or engage in self-censorship.  Finally, as was the case in

          Doe, 410 U.S. at 188, the lack of past prosecutions is irrelevant
          ___

          given the statute's recent origin.

                    Our holding finds additional support in a well-reasoned

          decision  of the Eleventh Circuit. In that case, the plaintiff, a

          candidate for elected judicial  office, brought a First Amendment

          challenge to a provision  of the canons of judicial  conduct that

          he believed would proscribe  a campaign speech that he  wished to

          make.   See  ACLU, 999  F.2d at  1488.   The defendants  (persons
                  ___  ____

          charged with enforcement  of the canons) responded that  the rule


                                          20














          did not apply  to the plaintiff's  proposed speech, but  insisted

          that the rule  itself was  constitutional.  In  finding that  the

          plaintiff had standing  and that  the defendants'  representation

          did not render the issue moot, Judge Kravitch wrote:

                    [I]t  would be  an  anomalous result  if [the
                    defendants]  were  permitted to  (1) maintain
                    that Canon 7(B)(1)(a)  is constitutional  and
                    enforceable  and yet,  if [the  plaintiff] or
                    another    judicial    candidate   in    [the
                    plaintiff's]  position  were  to   seek  pre-
                    enforcement review,  to  2) again  come  into
                    court  saying,  `Canon  7(B)(1)(a)  does  not
                    apply to that proposed speech.'  This process
                    itself,  aside from the canons and the rules,
                    is enough to chill speech.

          Id. at 1495.6  These words have clear pertinence here.
          ___

                                          E
                                          E

                    Because  the 1996  primary election  has been  held, we

          must address a final  issue pertaining to justiciability, namely,

          mootness.   A "case  is moot  when  the issues  presented are  no

          longer `live' or the  parties lack a legally  cognizable interest

          in the outcome."  Powell v. McCormack, 395 U.S.  486, 496 (1969).
                            ______    _________

          In our judgment, this case is not moot.

                              
          ____________________

               6The  defendants tell  us  that ACLU  is  undermined by  the
                                               ____
          decision in Graham v.  Butterworth, 5 F.3d 496 (11th  Cir. 1993),
                      ______     ___________
          cert. denied, 114 S. Ct. 2136  (1994).  We do not agree.   Graham
          _____ ______                                               ______
          is  distinguishable on two bases.  First, the Graham court itself
                                                        ______
          set ACLU apart as  involving a situation in which  the defendants
              ____
          continued   to   maintain   that   the   underlying   rule    was
          constitutional.     See  id.  at  500.    Here,  of  course,  the
                              ___  ___
          defendants,  as in  ACLU,  argue that  New Hampshire's  statutory
                              ____
          scheme passes constitutional muster.  Second   and more salient  
          the  Graham court  concluded that  there was  no chance  that the
               ______
          defendants there  would enforce  the challenged rule  against the
          particular plaintiff.  See id. at  499-500.  That was not true in
                                 ___ ___
          ACLU,  and it  is not  an accurate statement  as applied  to this
          ____
          case.

                                          21














                    This conclusion stands  on two pillars.   In the  first

          place,  N-PAC seeks  not  only an  injunction permitting  certain

          planned expenditures  but also a  declaratory judgment as  to the

          facial  constitutionality  of the  statute.    The latter  prayer

          affects expenditures  that  N-PAC may  choose to  make in  future
                                                                     ______

          elections.  As to declaratory relief, then, the case is not moot.

          See,  e.g., Allende v. Shultz,  845 F.2d 1111,  1114-15 (1st Cir.
          ___   ____  _______    ______

          1988) (holding  that, where  the plaintiffs sought  a declaratory

          judgment condemning the government's visa policy, the granting of

          one  visa did not moot the case,  as the government still had not

          disavowed its general policy).

                    In the  second place, cases  challenging statutes  that

          touch upon the electoral process are sui generis.  There often is
                                               ___ _______

          insufficient  time to resolve  even a promptly  filed case before

          the  election is  actually held.   Mindful  of that  pitfall, the

          Supreme  Court  has tended  to  treat such  challenges  as coming

          within the  exception to  the mootness doctrine  for cases  that,

          though  capable of  repetition,  may evade  review.   See,  e.g.,
                                                                ___   ____

          Democratic  Party v.  Wisconsin, 450 U.S.  107, 115  n.13 (1981);
          _________________     _________

          First Nat'l Bank v. Bellotti, 435 U.S. 765, 774 (1978); Storer v.
          ________________    ________                            ______

          Brown, 415 U.S. 724, 737 n.8 (1974).  
          _____

                    To fall  within this exception, "the  challenged action

          [must be] in  its duration too short to  be fully litigated prior

          to its cessation or expiration," and there must be "a `reasonable

          expectation'  or  a  `demonstrated  probability'  that  the  same

          controversy  will recur  involving  the same  complaining party."


                                          22














          Murphy  v. Hunt, 455 U.S. 478, 482 (1982) (per curiam) (citations
          ______     ____

          omitted).  The instant case passes the Murphy test.  As events to
                                                 ______

          date demonstrate, challenges to election spending laws can rarely

          be  fully resolved before the election itself is over.  Moreover,

          N-PAC's resolve that it will continue to  make expenditures which

          are arguably prohibited  by RSA  664:5, V leads  to a  reasonable

          expectancy that N-PAC will again find itself in the same quandary

          involving  the same  statutory scheme.   Hence,  the case  is not

          moot.   See Vote  Choice, 4 F.3d  at 37 n.12;  ACLU, 999  F.2d at
                  ___ ____________                       ____

          1496.

          V.  THE MERITS
          V.  THE MERITS

                    Having  confirmed  N-PAC's  standing to  maintain  this

          action,  we  must  now  decide  whether  to  remand  for  further

          proceedings.  When a trial court resolves a matter on a threshold

          ground and the appellate  court reverses, the usual praxis  is to

          remand for  consideration of the  merits.   See, e.g., In  re Two
                                                      ___  ____  __________

          Appeals  Arising  Out of  the San  Juan  Dupont Plaza  Hotel Fire
          _________________________________________________________________

          Litig.,  994 F.2d 956, 968-69 (1st Cir. 1993); Rivera-Gomez v. de
          ______                                         ____________    __

          Castro, 843 F.2d 631, 634-35 (1st Cir. 1988).    Like most rules,
          ______

          however, this one admits of exceptions. Where the merits comprise

          a   purely  legal  issue,  reviewable  de   novo  on  appeal  and

          susceptible  of determination  without additional  factfinding, a

          remand ordinarily will serve no useful purpose. See, e.g., United
                                                          ___  ____  ______

          States v. Pierro, 32 F.3d 611, 622 (1st Cir. 1994), cert. denied,
          ______    ______                                    _____ ______

          115 S.  Ct. 919 (1995); Cohen  v. Brown Univ., 991  F.2d 888, 904
                                  _____     ___________

          (1st  Cir.  1993); Societe  Des  Produits  Nestle,  S.A. v.  Casa
                             _____________________________________     ____


                                          23














          Helvetia,  Inc., 982  F.2d 633, 642  (1st Cir.  1992).   So it is
          _______________

          here.  Accordingly, we reach the merits of N-PAC's constitutional

          challenge.

                    Buckley  controls our analysis.   There, the plaintiffs
                    _______

          asseverated  that  several  sections  of  the  Federal   Election

          Campaign Act (the FEC Act), 2 U.S.C.    431-55, 18 U.S.C.    591-

          610 (1995), violated their  First Amendment rights.   Among other

          things,  they challenged a statutory cap ($1,000 per year) on the

          "independent expenditures" that individuals and groups could make

          "relative to a clearly identified candidate."  Buckley, 424  U.S.
                                                         _______

          at 7.  In evaluating the constitutionality of this provision, the

          Supreme   Court  first   established   a  frame   of   reference:

          expenditure  limitations, the Court said,  "operate in an area of

          the most  fundamental First Amendment activities.   Discussion of

          public issues  and debate on the qualifications of candidates are

          integral to the operation of the system of government established

          by our Constitution."  Id. at 14.
                                 ___

                    Public debate about candidates, the Court continued, is

          often fueled by money.   See id.  at 19.   As a consequence,  any
                                   ___ ___

          "restriction on  the amount of money a  person or group can spend

          on political  communication during a campaign necessarily reduces

          the quantity of  expression by restricting  the number of  issues

          discussed,  the depth of their  exploration, and the  size of the

          audience reached."   Id.   The FEC Act's  ceiling on  independent
                               ___

          expenditures  therefore  represented a  substantial  restraint on

          political  speech.  See id.   In the  Court's evocative metaphor,
                              ___ ___


                                          24














          "[b]eing free to engage in unlimited political expression subject

          to  a ceiling  on expenditures  is like  being free  to  drive an

          automobile as far and as often as one desires on a single tank of

          gasoline."  Id. at n.18.
                      ___

                    Having described the depth of the restriction involved,

          the Buckley Court proceeded  to find that the government  had not
              _______

          advanced a sufficiently compelling interest to warrant the severe

          First  Amendment incursions  associated  with the  proviso.   The

          principal government  interest asserted   avoiding  corruption of

          the  political  process     could  not  justify  the  cap because

          independent  expenditures,  by  definition,  were   made  without

          consultation  or  cooperation  between  the  contributor  and the

          candidate.  See id.  at 45-47.  The  Court likewise rejected  the
                      ___ ___

          idea that  expenditure limitations served a governmental interest

          in equalizing the ability of various groups to affect the outcome

          of  elections.     "The  First  Amendment's   protection  against

          governmental abridgement of  free expression  cannot properly  be

          made  to  depend on  a person's  financial  ability to  engage in

          public discussion."  Id. at 49.
                               ___

                    Under   Buckley,  RSA   664:5,  V  insults   the  First
                            _______

          Amendment.  The  New Hampshire  statute limits the  same kind  of

          independent expenditures that the  FEC Act attempted to regulate,

          and the New Hampshire  law purports to cap those  expenditures at

          precisely the  same level ($1,000)  as the FEC  Act set.7   To be
                              
          ____________________

               7We do  not consider the  distinction between the  FEC Act's
          $1,000 annual limit and New Hampshire's $1,000 per election limit
          to  be  of  constitutional  consequence,  especially  since  most

                                          25














          sure, the price  of political  expression has changed    but  the

          changes  work against  the state's  position.   We take  judicial

          notice that political campaigns are much more expensive  now than

          when  Buckley  was  decided  two  decades  ago.    The  price  of
                _______

          television and  newspaper advertisements has  ballooned, as  have

          the costs associated with printing and distributing leaflets.  To

          illustrate the point, N-PAC's plan to distribute 30,000 fliers at

          various  public events  held around  the state  on July  4, 1996,

          would have  required that it spend  in excess of $3,000.   In our

          judgment,  this  single  example  makes  painfully  apparent  how

          severely  RSA 664:5,  V restricts  political speech.   The  First

          Amendment does not tolerate such drastic limitations of protected

          political advocacy.8

                    Our   determination  that   the  $1,000   per  election

          limitation  on  independent   expenditures  is   unconstitutional

          necessarily leads us  to invalidate  not only RSA  664:5, V,  but

          also those portions of RSA 664:3, I &amp; II which complement it. See
                                                                        ___

          supra Part  I.  One  cannot be compelled  to state that  one will
          _____

          comply with an unconstitutional statute. Accordingly, neither the

          declaration requirement contained in RSA  664:3, I nor RSA 664:3,
                              
          ____________________

          elected state officials in New Hampshire serve two-year terms.

               8At oral  argument, counsel  for the  state argued  that New
          Hampshire's particular  system  of campaign  finance  regulation,
          which places heavy  emphasis on candidates'  voluntary acceptance
          of spending limits,  creates a  uniquely compelling  governmental
          interest  in curbing  independent expenditures.    Accepting this
          argument would require us  to carve out an  unwarranted exception
          to  a settled  constitutional rule.   We  decline to  do so.   An
          organization's  right  to  unfettered  political  expression  and
          advocacy is just as substantial within New Hampshire as without.

                                          26














          II's  proviso   conditioning  the   making  of   any  independent
                                                           ___

          expenditures on  the filing  of a  declaration pledging  that the

          committee  will  observe   New  Hampshire's  $1,000  ceiling   is

          enforceable.  See Perry  v. Sindermann, 408 U.S. 593,  597 (1972)
                        ___ _____     __________

          (explaining  that, in the area of free speech, government may not

          indirectly deny, through  unconstitutional conditions, that which

          it cannot directly prohibit).

          VI.  CONCLUSION
          VI.  CONCLUSION

                    We  summarize  succinctly.   N-PAC  has  established  a

          credible  threat that  New Hampshire will  enforce against  it in

          future elections a statutory scheme that the state believes to be

          constitutional.     Moreover,   the  statutes   contain  criminal

          penalties  and  suppress core  activity  protected  by the  First

          Amendment.   We  therefore conclude  that N-PAC  has suffered  an

          actual injury and, consequently,  we reverse the district court's

          dismissal of this case for lack of standing.  Moreover, since New

          Hampshire's  limitation  on   independent  expenditures   plainly

          violates  the   First  Amendment,   RSA  664:5,  V   is  facially

          unconstitutional,  and RSA  664:3, I  and RSA  664:3, II,  to the

          extent  that   they  command   fealty  to   RSA  664:5,   V,  are

          unenforceable.   On  remand,  the district  court shall  enter an

          appropriate decree.



          Reversed and remanded.
          Reversed and remanded.
          _____________________






                                          27









